Case 5:17-Cv-OO402-RBD-PRL Document 1 Filed 08/30/17 Page 1 of 11 Page|D 1

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I)el`cndant.
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COMPLAINT AND DEMAN|) FOR JURY 'l`RIAL

COl\/IES NOW Plaintit"t", BRIEN BOWERS, by and through the undersigned counsel, and
sues Del`endant, WELLS FARGO BANK, N.A., and in support thereof respectfully alleges
violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 cl .s‘eq. (“TCl’A”) and the
Florida Consumer Collection Praetiees Aet, Fla. Stat. § 559.55 et seq. ("FCCPA”).

IN'I`ROl)UC'l`lON

l. 'I`he TCPA was enacted to prevent companies like Det`endant from invading
American eiti'/.en’s privacy and prevent abusive "robo-calls.”

2. “’l`he TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls.” i\/lims i’. Ar)'r)w }"in. Scrvs., LLC, -US-~, 132 S.Ct., 74(). 745, 181,
L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the seourge of

modern civilization, they wake us up in the morning; they interrupt our dinner at night; they

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Case 5:17-Cv-OO402-RBD-PRL Document 1 Filed 08/30/17 Page 2 of 11 Page|D 2

force the sick and elderly out ot"bed; they bound us until we want to rip the telephone out of the
wall.”’ 137 Cong. Ree. 30. 821 (1991). Senator Hollings presumably intended to give telephone
subscribers another option: telling the auto-dialers to simply stop calling.” Osr)rio v. Smte Farm
chk, F.S.B., 746 F. 3d 1242. 1256 (l l‘h Cir. 2014).

4. According to the cheral Communications Commission (l"CC), “Unwanted calls
and texts are the number one complaint to the FCC. There are thousands of complaints to the
FCC every month on both telemarketing and robocalls. 'l`he FCC received more than 215,000
TCPA complaints in 2014." Facl Sheet: Wheeler Proposal to l’ro!ect and E)npower Consumers
Against Unwcm!ed Robocrrll.s', Texls 10 Wr`re[ess l’hones, Federa| Communications Comrnission,
(May 27. 2015), http://transition.fcc.gov/Daily_Releases/Daily_Busincss/ZO15/db0527/DOC-
3336761\1.pdt`.

JURISI)IC'I`[()N AND VENUE

2. This is an action for damages exceeding Seventy-Five 'l`housand Dollars
($75,000.00) exclusive of attorney fees and costs.

3. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

4. Subject matter jurisdiction, federal question jurisdiction. f`or purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts
shall have original jurisdiction ot` all civil actions arising under the Constitution, laws, or treaties

of the L?nited States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

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Case 5:17-Cv-OO402-RBD-PRL Document 1 Filed 08/30/17 Page 3 of 11 Page|D 3

Mims v. Ar)'ow l"in. Servs., LLC, S.Ct. 740, 748 (2012) and ()sorio v. Strrle 1"'ar)11 Brmk, F.S.B.,
746 F.3ri 1242, 1249 (l llh Cir. 2014)

5. The alleged violations described herein occurred in Lake County, Florida.
Accordingly, venue is appropriate with this Court under 28 U.S.C. §l39l(b)(2) as it is the
judicial district in which a substantial part of the events or omissions giving rise to this action
occurred.

FAC'I`UAL AI.I.EGATIONS
6. l’laintif`l` is a natural person, and citizen ol` the State of Florida, residing in Lake

County, Florida

7. I’laintil`f is a “consumer” as defined in Florida Statute § 559.55(8).
8. Plaintiff`is an “alleged debtor.”

9. Plaintift` is the “called party.” See Bres[ow v. Wells Fargo ljcmk, N.A., 755 F. 3d
1265 (11"‘ Cir. 2014) and Osorio v. stare Fw~m Bank, F.S.B., 746 F.3d 1242 (1 1"‘ Cir. 2014).

10. Def`endant is a corporation with its principal place of business located at 420
l\/Iontgomery Street, San Francisco, (,`alil`ornia, 94163 and which conducts business in the State
of Florida through its registered agent, Corporation Servicc Company located at 1201 I'Iays
Street, Tallahassee, lilorida, 32301.

ll. The debt that is the subject matter of this Complaint is a “consumer debt” as
defined by Florida Statute §559.55(6).

12. Del`endant called Plaintiff on Plaintif`l`s cellular telephone approximately 100

(one hundred) times in an attempt to collect an alleged debt.

Case 5:17-Cv-OO402-RBD-PRL Document 1 Filed 08/30/17 Page 4 of 11 Page|D 4

13. Defendant attempted to collect an alleged debt from Plaintiff by this campaign of
telephone calls.

14. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (352) *"‘*-21 16 and was the called party and recipient of Del`endant’s calls.

15. Upon receipt of the calls from Del`endant, Plaintifl"s caller ID identified the calls
were being initiated from, but not limited to, the following phone number: (800) 944-4601 and
when that number is called, a pre-recorded message answers, “Welcome to Wells Fargo. I’ara
Espanol oprima nueve. If` you are a customer press one, if you arc calling on behalf of a customer
press two."'

16. Upon information and belief, some or all of the calls the Defendant made to
Plaintiff`s cellular telephone number were made using an “automatic telephone dialing systcm”
which has the capacity to store or produce telephone numbers to be called, using a random or
sequential number generator (including but not limited to a predictive dialer) or an artificial or
prerccorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(l) (hereinafter
“auto¢dialer calls”). l’laintiff will testify that he knew it was an auto-dialer because of the vast
number of calls he received and because he heard a pause when he answered his phone before a
voice came on the line and/or he received prerecorded messages from Dcfcndant.

17. On several occasions over the last four (4) years Plaintiff instructed Defendant’s
agent(s)/reprcsentative(s) to stop calling his cellular telephone.

18. ln or about April 2017 l’laintifl` answered an automated call from Del`endant and

spoke with an agent/representative of Defendant demanding that the calls to his cellular

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Case 5:17-Cv-OO402-RBD-PRL Document 1 Filed 08/30/17 Page 5 of 11 Page|D 5

telephone cease. l’laintil`f was told by Del`endant’s agent/representative that in order to make the
calls stop, Plaintil`l` would have to make payment and have his account current.

19. Plaintiff"s demand for the harassment from Del`endant to end was ignorcd.

20. ln or about August 2017 Plaintiff answered an automated call from an
agent/representative of Defendant known only as “Lisette” and after demanding again that he
stop receiving calls to his cellular tclephone. Plaintiff was told by “Lisette” that he would have to
send in a cease and desist letter for the calls to stop.

21. Despite multiple times clearly and unequivocally revoking any consent Defcndant
lnay have believed they had to call l’laintift`s cellular tclephonc, Defendant continued to place
automated calls to l’laintifl`.

22. Due to the tremendous volume of calls Plaintil`f received over a lengthy period of
time, he was not able to properly catalogue each and every call, however attached hereto as
Exhibit A is a small sampling of some of the automated calls Plaintiff received to his cellular
telephone from Del`endant.

23. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to individuals just as it did to l’laintiff"s cellular telephone in
this case.

24. Del`endant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice just as it did to Plaintifl’s cellular telephone in this case_. with no

way for the consumer, Plaintiff, or Del`endant to remove thc number.

Case 5:17-Cv-OO402-RBD-PRL Document 1 Filed 08/30/17 Page 6 of 11 Page|D 6

25. Del`endant’s corporate policy is structured so as to continue to call individuals like
Plaintiff despite these individuals explaining to l)efendant they wish for the calls to stop.

26. Defendant has numerous other federal lawsuits pending against it alleging similar
violations as stated in this Complaint.

27. Defendant has numerous complaints across the country against it asserting that its
automatic telephone dialing system continues to call despite requested to stop.

28. Defendant has had numerous complaints from consumers across the country
against it asking to not be called; however, Del`endant continues to call the consumers.

29. Del`endant’s corporate policy provided no means for l’laintiff to have his number
removed from Defentlant’s call list.

30. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge thc called parties do not wish to be called.

31. Not a single call placed by Del`endant to Plaintiff was placed for “emergcncy
purposes” as specified in 47 U.S.C. § 227(b)(l)(A).

2. Del`endant willfully and/or knowingly violated the TCPA with respect to l’laintil`f.

UJ

From each and every call placed without consent by W Defendant to Plaintifl`s

b.)
L'J

cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon his
right of seclusion.
34. From each and every call without express consent placed by Defcndant to

Plaintiffs cellular telephone, Plaintiff suffered the injury of occupation of his cellular telephone

Case 5:17-Cv-OO402-RBD-PRL Document 1 Filed 08/30/17 Page 7 of 11 Page|D 7

line and cellular telephone by unwelcome calls, making the phone unavailable for legitimate
callch or outgoing calls while the phone was ringing from Del`endant’s calls.

35. 1"`rom each and every call placed without express consent by Def`endant to
Plaintiff`s cellular telephone, Plaintiff` suffered the injury of unnecessary expenditure of his time.
For calls he answered, the time he spent on the call was unnecessary as he repeatedly asked for
the calls to stop, Even for unanswered calls, l’laintiff had to waste time to unlock the telephone
and deal with missed call notitications and call logs that reflected thc unwanted calls. 'l`his also
impaired the usefulness of these features of I’laintifl’s cellular telephone, which are designed to
inform the user of important missed communications

36. Each and every call placed without express consent by Def`endant to Plaintifi"s
cellular telephonic was an injury in the form ol`a nuisance and annoyance to l’laintiff. For calls
that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for
unanswered calls, Plaintiff had to waste time to unlock the phone and deal with missed call
notitications and call logs that reflected the unwanted calls. 'l`his also impaired the usefulness of
these features of Plaintifl`s cellular telephone, which are designed to inform the user of
important missed communications

37. Each and every call placed without express consent by Defendant to Plaintifl’s
cellular telephone resulted in the injury of unnecessary expenditure of` Plaintiff’s cellular

telephone’s battery power.

Case 5:17-ev-OO402-RBD-PRL Doeument 1 Filed 08/30/17 Page 8 of 11 Page|D 8

38. Each and every call placed without express consent by Defendant to l’laintiff`s
cellular telephone where a voice message was left which occupied space in Plaintifl`s telephone
or nctwork.

39. Each and every call placed without express consent by Defendant to l’laintif`f’s
cellular telephone resulted in the injury of a trespass to l’laintiff"s chattel, namely his cellular
telephone and his cellular telephone services.

40. As a result of the calls described above, Plaintiff suffered an invasion of privacy.
Plaintif f was also affect in a personal and individualized way by stress, and aggravation

C()UNT I
(Violafion of the 'I`Cl’A)

¢l l. Plaiiitiff fully incorporates and realleges paragraphs one (1) through forty two
(42) as iffully set forth herein.

42. De fendant willfully violated the TCPA with respect to l’laintiff, especially for
each of the auto-dialer calls made to Plaintifl’s cellular telephone after Plaintifl` notified
Defendant that he wished for the calls to stop.

43. Defendant repeatedly placed non-emergency telephone calls to Plaintifl" s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintifl`s prior express consent in violation of federal la\v, including 47 U.S.C §

227(b)( l )(A)(iii).
WHEREFORE, Plaintifl` respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, treble

Case 5:17-cv-OO402-RBD-PRL Document 1 Filed 08/30/17 Page 9 of 11 Page|D 9

damages, enjoinder from further violations of these parts and any other such relief the court may
deem just and proper.

COUN'l` ll
(Violation of the FCCPA)

44. P|aintiff fully incorporates and realleges paragraphs one (l) through forty two
(42) as if fully set forth herein

45. At all times relevant to this action Defendant is subject to and must abide by the
laws of the State of Florida, including 1~`lorida Statute § 559.72.

46. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of his family with such frequency as can reasonably be expected
to harass the debtor or his family.

47. Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other
condttet which can reasonably be expected to abuse or harass the debtor or any member of his
family.

48. Defendant’s actions have directly and proximately resulted in Plaintiff` s prior and
continuous sustaining of damages as described by lilorida Statute § 559.77.

WHEREI"ORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damagcs, costs,
interest, attorney fees, enjoinder from further violations of these parts and any other such relief
the court may deem just and proper.

Respectfully submittcd,

Case 5:17-cv-OO402-RBD-PRL Document 1 Filed 08/30/17 Page 10 of 11 Page|D 10

Octavio Gomez, Esquire

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Case 5:17-cv-OO402-RBD-PRL Document 1 Filed 08/30/17 Page 11 of 11 Page|D 11

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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4/24/17 8:51 am soo-944-4601
4/25/17 10:40 am 800-944-4601
4/25/17 4108 pm soo-saa-aeol
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5/2/17 12=55 pm 800~944-4601
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5/12/ 17 2=33 pm 800-944-4601
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5/15/17 11:58 am 800-944-4601
5/16/17 9:17 am 800.944-4601
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5/16/17 6=26 pm 800-944-4601
5/17/17 4:06 pm 800-944-4601
5/18/17 9:53 am 800-944-4601
5/19/17 11:19 am 800-944-4601
5/22/17 12¢55 pm 800-944-4601
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5/ 24/ 17 1150 pm 800-944-4601
5/25/17 1120 pm 800~944-4601
5/26/17 1:111 pm 800-944-4 601
5/27/17 10:07 am 800-944-4 601
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5/30/ 17 11:18 am 800-944-4601
5/30/17 3:51 pm 800-944-4601
6/1/17 2:45 pm 800-944-a601
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Exhibit A

